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AO 245D (Rev 11/16) Judgment in a Criminal Case for Revocations
                    Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                            District of New Mexico

                  UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                                                                           (For Revocation of Probation or Supervised Release)
                                    V.
                           Clinton Ferrier                                 Case Number: 1:09CR03078-008JB
                                                                           USM Number: 61728-051
                                                                           Defendant’s Attorney: Zachary Ives, Appointed

THE DEFENDANT:

☒     admitted guilt to violations of condition(s) Standard, Special, Standard of the term of supervision.
☐     was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                   Violation Ended

Standard Condition               The defendant failed to notify the probation officer at least         09/21/2016
                                 10 days prior to any change in residence or employment.


The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has not violated condition(s) and is discharged as to such violation(s).

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

5569                                                                     January 10, 2017
Last Four Digits of Defendant’s Soc. Sec. No.                            Date of Imposition of Judgment


1972                                                                     /s/ James O. Browning
Defendant’s Year of Birth                                                Signature of Judge




                                                                         Honorable James O. Browning
Aztec, NM                                                                United States District Judge
City and State of Defendant’s Residence                                  Name and Title of Judge

                                                                         February 25, 2017
                                                                         Date
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AO 245D (Rev 11/16) Judgment in a Criminal Case for Revocations
                    Sheet 1A                                                                                         Judgment - Page 2 of 3



DEFENDANT: Clinton Ferrier
CASE NUMBER: 1:09CR03078-008JB

                                                      ADDITIONAL VIOLATIONS
Violation Number                 Nature of Violation                                         Violation Ended

Special Condition                The defendant failed to participate in and succesfully      10/2016
                                 complete an outpatient substance abuse treatment program
                                 approved by the probation officer, which may include
                                 testing.

Standard Condition               The defendant failed to answer truthfully to all inquiries by 10/25/2016
                                 the probation officer and failed to follow the instructions of
                                 the probation officer.
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AO 245D (Rev 11/16) Judgment in a Criminal Case for Revocations                                                       Judgment - Page 3 of 3
                    Sheet 2 - Imprisonment



DEFENDANT: Clinton Ferrier
CASE NUMBER: 1:09CR03078-008JB

                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 5 days
or time served, whichever is less .

For the reasons stated on the record at the hearing held January 10, 2017, the Court varies downward.

A term of supervised release will not be reimposed.

☐ The court makes the following recommendations to the Bureau of Prisons:




☐     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on .
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on .
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                   at                                with a certified copy of this judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
